

People v Escalona (2022 NY Slip Op 00742)





People v Escalona


2022 NY Slip Op 00742


Decided on February 03, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 03, 2022

Before: Kapnick, J.P., Mazzarelli, Gesmer, Kennedy, Pitt, JJ. 


Ind No. 999/18 Appeal No. 15208 Case No. 2020-00081 

[*1]The People of the State of New York, Respondent,
vShaQuille Escalona, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Brittany N. Francis of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Reva Grace Phillips of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Robert Neary, J.), rendered July 31, 2019, convicting defendant, upon his plea of guilty, of attempted assault in the second degree, and sentencing him to a term of one to three years, unanimously affirmed.
CPL 420.35(2-a), enacted on August 24, 2020 with an immediate effective date, authorizes a trial court to waive the mandatory surcharge and fees ordinarily imposed on a convicted defendant, where the defendant was under 21 years old at the time of the underlying crime and certain other conditions are met. We need not reach the question of whether this statute applies retroactively on appeal to defendant, who was sentenced
before the new statute's effective date (see People v Utsey, 7 NY3d 398, 404 [2006]; People v Behlog, 74 NY2d 237, 239 [1989]) because we do not find that vacatur of the surcharge and fees as a matter of discretion in the interest of justice would be appropriate under the particular circumstances of this case. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 3, 2022








